                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

ELAINE MAHAN,                                    )
     Plaintiff,                                  )
v.                                               )    CIVIL ACTION 09-00535-KD-B
                                                 )
MOBILE HOUSING BOARD,                            )
    Defendant.                                   )

                                              JUDGMENT

        In accordance with the Order issued on this date, it is hereby ORDERED, ADJUDGED

and DECREED that JUDGMENT is entered in favor of the Defendant, the Mobile Housing

Board, as to all of the Plaintiff’s claims.

        DONE and ORDERED this the 22nd day of March 2011.

                                                     /s/ Kristi K. DuBose
                                                     KRISTI K. DuBOSE
                                                     UNITED STATES DISTRICT JUDGE




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